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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

YVONNE BROWN,                        )
                                     )
      Plaintiff,                     )
                                     )     CIVIL ACTION
v.                                   )
                                     )     FILE No. 1:20-cv-00999-ELR
VINING’S FINE WINE & DELI,           )
INC.,                                )
                                     )
      Defendant.                     )

     ORDER APPROVING CONSENT DECREE AND DISMISSAL OF
                DEFENDANT WITH PREJUDICE

      The Court, having read and reviewed the parties’ Joint Stipulation and the

Consent Decree attached to the Joint Stipulation as Exhibit A, and for good cause

shown, the Stipulation to Approve Consent Decree and Dismiss with Prejudice is

GRANTED. [Docs. 43, 43-1]. The Court shall retain jurisdiction to enforce the

Consent Decree.

      SO ORDERED, this 6th day of July, 2021.


                                           ________________________
                                           Hon. Eleanor L. Ross
                                           United States District Judge
